Case 2:17-cv-00172-LEW Document 100 Filed 06/08/20 Pageiof2 PagelD#: 1035

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

SCOTT FRECHETTE,
Plaintiff
VS. Civil Action No. CV-17-cv-172-LEW
NORMAN GAUDETTE,
ROGER BEAUPRE, and

CITY OF BIDDEFORD

Defendants

Nem Nene” ame Nee” Nee Noe ee ee Neue nee” “ee”

STATUS REPORT
NOW COME Defendants Roger Beaupre and the City of Biddeford (“City Defendants”)
and hereby provide the following Status Report:
The case remains before the First Circuit Court of Appeals. The Appeal has been fully
briefed and the Court has indicated it will decide the case on the briefs. To date, no decision has

been issued. Plaintiff's counsel Walter McKee concurs with this status assessment.

Dated: June 8, 2020

/s/ Keith R. Jacques

Keith R. Jacques, Esq. (Bar #2962)

Attomey for Defendant, City of Biddeford

Woodman Edmands Danylik Austin Smith
& Jacques, P.A.

234 Main Street

P.O. Box 468

Biddeford, ME 04005

kr @woodedlaw.com
(207) 284-4581
Case 2:17-cv-00172-LEW Document 100 Filed 06/08/20 Page 2of2 PagelD #: 1036

/s/ Timothy J. Bryant

Timothy J. Bryant, Esq. (Bar #7736)
Attorney for Defendant, Roger Beaupre
Preti, Flaherty, Beliveau & Pachios, LLC
One City Center

P.O. Box 9546

Portland, ME 04112-9546

tbryant@preti.com
(207) 791-3000

CERTIFICATE OF SERVICE
I hereby certify that on June 8, 2020, I electronically filed a Status Report with the United
States District Court for the District of Maine using the CM/ECF system which will send

notification of such filing to all attorneys of record.

Dated: June 8, 2020

/s/ Keith R. Jacques

Keith R. Jacques, Esq. (Bar #2962)

Attorney for Defendant, City of Biddeford

Woodman Edmands Danylik Austin Smith
& Jacques, P.A.

234 Main Street

P.O. Box 468

Biddeford, ME 04005

kri@woodedlaw.com

(207) 284-4581
